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                   Item 17
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           Item 17
           Number and percentages of students by
           race/ethnicity and LEP status for the top
           10% of the UHS senior class


   2011                                                       Top 10%
Seniors            27
           White Hispanic                        10                            37%
           White-17                                                            44%
           LEP-0                                                                0%
           Non-LEP-27                                                         100%

Juniors-26
           White Hispanic                        13                             50 %
           White -12                                                            50%
           LEP-0                                                                     0%
           Non-LEP-26                                                           100%

**   Due   to changes in the federal classification of race and ethnicity, students may now have
multiracial and ethnic designations.
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